                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )
                                                       )
 EDWARD BAGLEY, SR.,                                   )      No. 10-00244-02-CR-W-DW
 BRADLEY COOK,                                         )      No. 10-00244-03-CR-W-DW
 DENNIS HENRY,                                         )
 MICHAEL STOKES, and                                   )
 JAMES NOEL,                                           )
                                                       )
                Defendants.                            )

                                            ORDER

       Pending before the Court is Defendant Dennis Henry’s Motion for Review of Order

Denying Defendant’s Motion for Bond (Doc. 61), and Defendant Bradley Cook’s Motion to

Revoke or Amend Magistrate Court’s Order of Detention (Doc. 64). The Government opposes

both motions, and the parties have submitted briefs in support of their respective positions.

       On September 27, 2010, Magistrate Judge Robert E. Larsen held a hearing on Defendant

Henry’s motion for release on bond. On September 28, 2010, Magistrate Judge Larsen held a

detention hearing with respect to Defendant Cook. Following those hearings, and after

considering the evidence presented, Magistrate Judge Larsen entered two Orders. See Docs. 44,

52. Both Orders concluded that Defendant Henry and Defendant Cook should be detained

pending trial. In particular, Magistrate Judge Larsen found by a preponderance of evidence that

each Defendant poses a flight risk and that no single condition or combination of conditions of

release would reasonably assure the appearance of either Defendant. See 18 U.S.C. § 3142(e).

Magistrate Judge Larsen also found by clear and convincing evidence that each Defendant poses



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a danger to the community and that no single condition of release or combination of conditions

of release would reasonably assure the safety of the community. Id. Magistrate Judge Larsen

also judicially noticed the statutory presumption against release in light of the charges alleged.

See 18 U.S.C. § 3142(e)(3).

       This Court "reviews a magistrate judges’s detention order de novo." United States v.

Barkau, 2008 WL 2872215, at * 1 (W.D. Mo. July 22, 2008). The Court has reviewed the

record, and agrees with Magistrate Judge Larsen’s findings and conclusions. See also United

States v. Abad, 350 F.3d 793, 798-99 (8th Cir. 2003) (ordering detention in part because of the

seriousness of the alleged crime and because the maximum sentence "weighs strongly in favor of

finding [defendant] would be a flight risk"). Accordingly, it is hereby

       ORDERED that Magistrate Judge Larsen’s Order Denying Defendant Henry’s Motion

for Bond (Doc. 44) and Magistrate Judge Larsen’s Detention Order with respect to Defendant

Cook (Doc. 52) are AFFIRMED; it is further

       ORDERED that Defendant Henry’s Motion for Review of Order Denying Defendant’s

Motion for Bond (Doc. 61) is GRANTED IN PART, but only insofar as the Court has reviewed

the Order Denying Defendant’s Motion for Bond; it is further

       ORDERED that Defendant Cook’s Motion to Revoke or Amend Magistrate Court’s

Order of Detention (Doc. 64) is DENIED; it is further

       ORDERED that Defendant Henry and Defendant Cook shall continue to be detained

without bail.

       IT IS SO ORDERED.




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Date: December 10, 2010            /s/ Dean Whipple
                                  Dean Whipple
                                  United States District Judge




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